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                         EXHIBIT C
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AIDS VACCINE ADVOCACY               )
COALITION, et al.,                  )
                                    )
                  Plaintiffs,       )         Civil Action No. ___________
                                    )
            v.                      )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE, et al.,                   )
                                    )
                  Defendants.       )
___________________________________ )


                   DECLARATION OF ANDREW SULLIVAN

I, Andrew Sullivan, declare the following under penalties of perjury:

      1.     I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I am the co-founder and publisher of the Journalism Development

Network (JDN), a Baltimore, Maryland based non-profit. JDN is one of the largest

investigative journalism organizations in the world. It publishes as the Organized

Crime and Corruption Reporting Project (OCCRP).

      3.     JDN is a mission-driven newsroom that partners with other media

outlets to publish stories that lead to real-world action. JDN reports on topics that

few other news organizations cover in depth, including how crime and corruption are

fueling the crises of our time: war, climate change, inequality, and threats to

democracy.
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      4.     At the same time, our media development arm helps investigative

outlets around the world succeed and serve the public. Through this work, JDN helps

build and sustain news organizations by providing journalists in our global network

with critical services such as access to reporting partners, investigative technology

and data, robust editing and fact-checking, digital and physical security support,

protection against legal harassment. Our reporting partners share data, expertise,

and local knowledge—which, in turn, strengthens the entire network, helping us

uncover more crime and corruption.

      5.     JDN has received a great deal of recognition for its work. In 2024 alone,

JDN received EPPY Awards for excellence in digital journalism, the Inter-American

Press Association’s In-Depth Journalism Award for our project on Latin American

organized crime, and a DIG Award for our joint investigation with BBC Eye that

uncovered links between the multi-billion dollar Captagon drug trade and senior

members of President Bashar al-Assad’s family, as well as several other awards for

our individual journalists and media partners. In 2023, JDN was nominated for a

Nobel Peace Price for our work contributing to peace by unmasking political

corruption and organized crime.

      6.     State Department and USAID grants constitute 38% of JDN’s budget.

      7.     USAID’s grant enabled JDN to launch the Strengthening Transparency

and Accountability Through Investigative Reporting (STAIR) program. Through that

program, JDN supported collaborative investigative journalism networks in Europe

and Eurasia. When USAID initially announced the grant, it issued a press release



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describing the importance of the program, stating:

           Investigative journalism is an essential element in addressing the endemic
           corruption that continues to act as a barrier to the economic and democratic
           aspirations of the citizens of Europe and Eurasia. Over the past decade,
           increased awareness of crime and corruption have helped unite citizens
           across ethnic, age, and geographic divides who seek greater accountability
           and transparency from political and financial elites.

           Investigative journalists, often at great risk to themselves, invest months
           and sometimes years to conduct complex, transnational investigations that
           expose how the powerful manipulate financial, regulatory, and legal
           systems to enrich themselves, corrode democratic institutions, and open the
           door to foreign manipulation of economies and political processes.
           Investigative journalism requires a substantial investment of time, effort,
           and financial resources beyond the reach of most news organizations, many
           of which already struggle to turn a profit.

           USAID’s support, through STAIR, aims to make that investment
           financially viable, enable cross-border collaboration, and ensure journalists
           have the tools they need to protect themselves from retaliation.1

      8.      Without USAID funding, STAIR cannot continue at its current capacity.

We will be forced to make severe cuts to our programming across the world.

      9.      State Department grants helped JDN launch and sustain the Global

Anti-Corruption Consortium (GACC). GACC accelerates the fight against corruption

by connecting hard-hitting investigative journalism to skillful civil society advocacy.

Its work has demonstrable impact: In 2022 and 2023, GACC’s work contributed to 26

official investigations into corruption, sanction violations, environmental crimes,




      1 The USAID.gov website is no longer functional. However, a copy of the press

release      is     available    through      the     Internet    Archive            at
https://web.archive.org/web/20241108225737/https://www.usaid.gov/news-
information/press-releases/nov-02-2022-usaid-launches-new-program-bolster-
investigative-journalism-europe-eurasia.

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election interference, and other wrongdoing and led to 89 official government actions,

including policy changes, legislative actions, and sanctions.

      10.    The abrupt freeze of GACC grant funding has impeded JDN’s work, by

eliminating a critical tool in exposing global organized crime and corruption.

      11.    State Department grants also support our work building capacity and

support for journalists doing essential anti-corruption reporting in places like

Cambodia, Cyprus, Malta, the Pacific Islands, Paraguay, and Russia. Without State

Department funding, JDN cannot continue to serve all of these locations. Mature

programs in the Pacific, Latin America, Europe and Asia have been ended and most

staff laid off. JDN has significant new holes in its global network making it difficult

to effectively do collaborative, cross border investigations.

      12.    Already, JDN cut 43 of its 199 staff because of the uncertainty of the

current situation. Most of the rest of the staff has had their work week shortened to

4 days with a corresponding 20 percent cut in pay.          We have cancelled events

including our annual meeting, cut travel for investigative reporting and frozen the

purchase of new equipment. The current situation hampers our journalism, reduces

our impact and creates uncertainty and fear amongst staff.

      13.    The injuries suffered by JDN are ongoing and will persist unless the

stop-work orders are rescinded.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 10, 2025.




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                                     /s/ ___________________
                                    Andrew Sullivan
                                    Publisher, Journalism Defense Network




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